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         Exhibit E
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From: Cambridge Capital [mailto:info@cambridgecapitalgroup.holdings]
Sent: Monday, March 5, 2018 2:42 PM
To: TerriAnne Benedetto <TBenedetto@seegerweiss.com>
Cc: Chris Seeger <CSeeger@seegerweiss.com>
Subject: Fwd: Additional Files For Case 2:12‐md‐02323‐AB

Good After Ms. Benedetto,

I am forwarding the e-mail I sent on Friday, March 2, 2018 to Mr. Seeger with the additional files.

I need your assistance with Mr. Black. I sent the documents to Mr. Seeger by the deadline because Mr. Black
would not send them. He stated he resigned. We are seeking council but do not have a replacement at this time.
At this point, the Cambridge Entities do not have legal representation for the April 2, 2018 hearing.

Mr. Black called me Friday evening, March 2, 2018, informing me that the signature on the documents I sent to
you is not Dr. Howard's. I was told to inform Mr. Seeger of that information. I'm not an attorney.

If you can assist Cambridge with Mr. Black, we would be appreciative.

I am also attaching the letter from the accountant. These documents are not audited.


Best Regards,
Gail Milon, CASL, CLTC                                                             Managing Vice

President                                                   Cambridge Capital
Group
 m   m   m   m   V
                                         Email: info@cambridgecapitalgroup.holdings




Tallahassee Office:
2120 Killarney Way, Ste. 125
Tallahassee, Florida 32309
Main Office: (850) 591-4010
Fax: (850) 386-6399




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---------- Forwarded message ----------
From: Cambridge Capital <info@cambridgecapitalgroup.holdings>
Date: Fri, Mar 2, 2018 at 2:02 PM
Subject: Additional Files For Case 2:12-md-02323-AB
To: cseeger@seegerweiss.com

Good Afternoon Mr. Seeger,

Attached are the final two (2) files for the above Class Members.

Best Regards,
Gail Milon, CASL, CLTC                                                            Managing Vice

President                                                  Cambridge Capital
Group                                    Email: info@cambridgecapitalgroup.holdings




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2120 Killarney Way, Ste. 125
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